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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF ARKANSAS

JEAN EVANS,                        )
                                   )
           Plaintiff,              )
                                   )
vs.                                )              Case No.4:18-cv-256-KGB
                                   )
PETCO ANIMAL SUPPLIES STORES, INC. )
and JOHN DOES 1-100,               )
                                   )              Saline County Case No. 63CV-18-392
           Defendants.             )

     DEFENDANT PETCO ANIMAL SUPPLIES STORES, INC.’s ANSWER

       Defendant Petco Animal Supplies Stores, Inc. hereby submits its Answer to

Plaintiff’s Complaint and states all allegations not specifically admitted are herein denied.

Defendant further answers as follows:

       1.      Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 1 of Plaintiff’s Complaint, and therefore denies them.

       2.      Defendant denies it is a California corporation, as it is incorporated in

Delaware with a principal place of business in California.

       3.      Defendant denies the allegations contained in Paragraph 3 of Plaintiff’s

Complaint and demands strict proof thereof.

       4.      Defendant denies the allegations contained in Paragraph 4 of Plaintiff’s

Complaint and demands strict proof thereof.

       5.      Defendant admits the alleged incident referenced in Plaintiff’s Complaint

occurred in Benton, Saline County, Arkansas.
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       6.      Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Complaint, to the extent the United States District Court for the Eastern District of

Arkansas has jurisdiction of this case.

       7.      Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Complaint, to the extent the United States District Court for the Eastern District of

Arkansas has jurisdiction of this case.

       8.      Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Complaint, to the extent this case’s proper venue is in the United States District Court for

the Eastern District of Arkansas.

       9.      Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 9 of Plaintiff’s Complaint, and therefore denies them.

       10.     Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s

Complaint and demands strict proof thereof.

       11.     Defendant denies the allegations contained in Paragraph 11 of Plaintiff’s

Complaint and demands strict proof thereof.

       12.     Defendant denies the allegations contained in Paragraph 12 of Plaintiff’s

Complaint and demands strict proof thereof.

       13.     Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s

Complaint and demands strict proof thereof.

       14.     Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s

Complaint and demands strict proof thereof.



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      15.    Defendant denies the allegations contained in Paragraph 15 of Plaintiff’s

Complaint and demands strict proof thereof.

      16.    Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 16 of Plaintiff’s Complaint, and therefore denies them.

      17.    Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 17 of Plaintiff’s Complaint, and therefore denies them.

      18.    Defendant denies the allegations contained in Paragraph 18 of Plaintiff’s

Complaint and demands strict proof thereof.

      a. Denied.

      b. Denied.

      c. Denied.

      d. Denied.

      e. Denied.

      19.    Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s

Complaint and demands strict proof thereof.

      20.    Defendant denies the allegations contained in Paragraph 20 of Plaintiff’s

Complaint and demands strict proof thereof.

      21.    Defendant denies the allegations contained in Paragraph 21 of Plaintiff’s

Complaint and demands strict proof thereof.

      22.    Defendant denies the allegations contained in Paragraph 22 of Plaintiff’s

Complaint and demands strict proof thereof.

      a. Denied.

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      b. Denied.

      c. Denied.

      d. Denied.

      e. Denied.

      f. Denied.

      g. Denied.

      h. Denied.

      i. Denied.

      j. Denied.

      23.     Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 23 of Plaintiff’s Complaint, and therefore denies them.

      24.     Paragraph 24 of Plaintiff’s Complaint is not an allegation directed at

Defendant; however, Defendant also demands a trial by jury.

      25.     Defendant denies the allegations contained in Paragraph 25 of Plaintiff’s

Complaint and demands strict proof thereof.

      26.     All remaining allegations contained in Plaintiff’s Complaint not admitted

are hereby denied.

                              AFFIRMATIVE DEFENSES

      1.      Plaintiff’s Complaint fails to state a claim upon which relief can be granted.

      2.      Defendant denies the nature and extent of Plaintiff’s claimed injuries.

      3.      Defendant asserts a general denial of all allegations of Plaintiff.



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          4.      Plaintiff’s claims may be barred by contributory and/or comparative

negligence.

          5.      Plaintiff’s injuries, if any, may have been caused by her own negligence.

          6.      Plaintiff’s injuries, if any, were not caused by any act or omission of

Defendant.

          7.      Any danger posed by the premises was open and obvious to Plaintiff.

          8.      Plaintiff’s damages, if any, were caused by third parties over whom this

Defendant had no right or control.

          9.      The comparative fault of Plaintiff exceeds that of Defendant.

          10.     Plaintiff’s claims and injuries, if any, are barred by the doctrine of

intervening/superseding cause.

          11.     Plaintiff’s claims may be barred by the statute of limitations.

          12.     Plaintiff’s injuries, if any, were not caused by Defendant.

          13.     The accident was proximately caused and/or contributed to by the

negligence of a third party, over whom Defendant had no control and no duty to control.

          14.     The injuries complained of in Plaintiff’s Complaint are the result of

preexisting health problems that were neither caused nor aggravated by this accident and

for which this Defendant is not liable.

          15.     The injuries complained of in Plaintiff’s Complaint are the result of

healthcare problems which developed after the date of the alleged accident, which were

neither caused nor aggravated by this Defendant and for which this Defendant is not

liable.

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          16.   The injuries complained of in Plaintiff’s Complaint are the result of an

accident which occurred subsequent to the date of the alleged accident, which were

neither caused nor aggravated by this Defendant and for which this Defendant is not

liable.

          17.   Plaintiff has failed to mitigate her damages.

          18.   Defendant reserves the right to assert additional affirmative defenses as

discovery commences and continues.

          Defendant Petco Animal Supplies Stores, Inc., having fully answered Plaintiff’s

Complaint, prays the relief requested by Plaintiff be denied, this action be dismissed,

judgment be entered in favor of Defendant, and Defendant be awarded the cost of this

action, interest at the statutory rate, reasonable attorneys’ fees, and any and all other relief

to which it may be entitled.


                                           Respectfully submitted,


                                          s/Jason Goodnight
                                           Jason Goodnight, Ark. Bar. No. 2008112
                                           FRANDEN, FARRIS, QUILLIN
                                            GOODNIGHT & ROBERTS
                                           Williams Center Tower II
                                           Two West Second Street, Suite 900
                                           Tulsa, OK 74103-3101
                                           918/583-7129
                                           918/584-3814 FAX
                                           Attorney for Defendant Petco
                                           Animal Supplies Stores, Inc.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of April, 2018, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrant:

       Andrew M. Taylor,
       Tasha C. Taylor,
       TAYLOR & TAYLOR LAW FIRM, P.A.
       12921 Cantrell Road, Suite 205
       Little Rock, Arkansas 72223
       Attorneys for Plaintiff


                                           s/Jason Goodnight, ABA #2008112




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